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   10
                                        UNITED STATES DISTRICT COURT
   11
                                     NORTHERN DISTRICT OF CALIFORNIA
   12
                                            SAN FRANCISCO DIVISION
   13
                                                          CASE NO.: 4:20-mc-80214-VC
   14

   15                                                     JOINT STIPULATION TO MODIFY
          IN RE DMCA § 512(h)                             BRIEFING SCHEDULE ON TWITTER’S
   16     SUBPOENA TO TWITTER, INC.                       MOTION FOR DE NOVO
                                                          DETERMINATION OF DISPOSITIVE
   17                                                     MATTER
   18                                                     AS MODIFIED

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          JOINT STIPULATION TO MODIFY BRIEFING SCHEDULE                        CASE NO. 4:20-mc-80214-VC
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    1             This stipulation is entered into between Petitioner Bayside Advisory LLC (“Petitioner” or
    2     “Bayside”) and Respondent Twitter, Inc. (“Respondent” or “Twitter”; collectively with
    3     Petitioner, the “Parties”) pursuant to Local Rules 6-2 and 7-12.
    4             WHEREAS, on January 7, 2022, Twitter filed its Motion for De Novo Determination of
    5     Dispositive Matter Referred to Magistrate Judge (Dkt. 22) (the “Motion”) in matter In re DMCA
    6     § 512(h) Subpoena to Twitter, Inc, Case No. 4:20-mc-80214-DMR, then assigned to Magistrate
    7     Judge Donna M. Ryu;
    8             WHEREAS, the current deadline for the filing of a response is January 21, 2022 and the
    9     current deadline for the filing of a reply is January 28, 2022;
   10             WHEREAS, counsel for the parties have been contacted by potential amici curiae who
   11     may seek to participate in the briefing of the Motion;
   12             WHEREAS, counsel for the parties recognize that the issues in the Motion address a
   13     matter of important public interest, and that justice would be best served with such amici’s public
   14     policy and legal arguments before the Court;
   15             WHEREAS, the parties have sought no previous extensions or modification of the
   16     briefing schedule and, as this case is limited to a DMCA subpoena, there is no further schedule
   17     for the case that will be affected;
   18             NOW, THEREFORE, IT IS HEREBY STIPULATED, by and between the undersigned
   19     counsel for the Parties herein, and subject to the approval of the Court, that the parties and
   20     potential amici curiae shall brief the Motion in accordance with the following schedule:
   21                 •   February 18, 2022 – Amicus briefs in support of Twitter due;
   22                 •   March 11, 2022 – Bayside’s response / opposition due;
   23                 •   April 4, 2022 – Amicus briefs in support of Bayside or amicus briefs that do not
   24                     support either party due;
   25                 •   April 25, 2022 – Twitter’s reply due;
   26                 •   May 12, 2022 – Hearing.
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                  IT IS SO STIPULATED.
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          JOINT STIPULATION TO MODIFY BRIEFING SCHEDULE                                  CASE NO. 4:20-mc-80214-VC
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